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                                          SCHEDULE 1

                                   SCHEDULE OF DEBTORS

     On the date hereof, each of the affiliated entities listed below (each, a “Debtor” and,
collectively, the “Debtors”) filed a voluntary petition in this Court for relief under chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”). The Debtors have moved for joint
administration of these cases under the case number assigned to the chapter 11 case of Abeinsa
Holding Inc.

    1. Abeinsa Holding Inc.
    2. Abengoa Solar, LLC
    3. Abeinsa EPC LLC
    4. Abencor USA, LLC
    5. Inabensa USA, LLC
    6. Nicsa Industrial Supplies, LLC
    7. Abener Construction Services, LLC
    8. Abener North America Construction, LP
    9. Abeinsa Abener Teyma General Partnership
    10. Abener Teyma Mojave General Partnership
    11. Abener Teyma Inabensa Mount Signal Joint Venture
    12. Teyma USA & Abener Engineering and Construction Services General Partnership
    13. Teyma Construction USA, LLC

    On March 28, 2016, each of the affiliated entities listed below filed respective petitions in
this Court for relief under chapter 15 of the Bankruptcy Code, seeking recognition of the foreign
proceeding pending in Spain as a foreign main proceeding.

    14. Abengoa, S.A.
    15. Abeinsa Asset Management, S.L. (formerly Abener Inversiones, S.L.)
    16. Abeinsa Inversiones Latam, S.L. (formerly Dimange Inversiones 2009, S.L.)
    17. Abeinsa, Ingeniería y Construcción Industrial, S.A.
    18. Abencor Suministros S.A.
    19. Negocios Industriales y Comerciales, S.A.
    20. Abener Energía, S.A.
    21. Abengoa Bioenergía, S.A.
    22. Abeinsa Infraestructuras Medio Ambiente, S.A. (formerly Befesa Agua)
    23. Abengoa Finance, S.A.
    24. Abengoa Concessions, S.L.
    25. Abengoa Solar España, S.A. (formerly Solúcar Energía, S.A.)
    26. Abengoa Solar New Technologies S.A. (formerly Solúcar, Investigación y Desarrollo
        (Solúcar, R&D), S.A.)
    27. Abentel Telecomunicaciones, S.A.
    28. Asa Desulfuración, S.A. (formerly Befesa Desulfuración, S.A.)
    29. Bioetanol Galicia, S.A.
    30. Ecoagrícola, S.A.
    31. Instalaciones Inabensa, S.A.


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    32. Europea de Construcciones Metálicas, S.A.
    33. Siema Technologies, S.L. (formerly Telvent Corporation)
    34. Teyma, Gestión De Contratos De Construcción E Ingeniería, S.A.
    35. Abengoa Water, S.L. (formerly Befesa Water Projects S.L)
    36. Abengoa Solar S.A. (formerly Solúcar Solar)
    37. Abengoa Greenfield S.A.U.
    38. Abengoa Greenbridge, S.A.U.

    On February 24, 2016, each of the affiliated entities listed below filed a voluntary petition in
the United States Bankruptcy Court for the Eastern District of Missouri for relief under chapter
11 of title 11 of the United States Code. The bankruptcy cases of the affiliates listed below are
jointly administered under the chapter 11 case of Abengoa Bioenergy US Holding LLC [Case
No. 16-41161].

    39. Abengoa Bioenergy US Holding, LLC                             Case No. 16-41161
    40. Abengoa Bioenergy of Nebraska, LLC                            Case No. 16-41163
    41. Abengoa Bioenergy Company, LLC                                Case No. 16-41165
    42. Abengoa Bioenergy Engineering & Construction, LLC             Case No. 16-41168
    43. Abengoa Bioenergy Trading US, LLC                             Case No. 16-41167
    44. Abengoa Bioenergy Outsourcing, LLC                            Case No. 16-41171

    Finally, involuntary petitions were filed against the three affiliated entities listed below under
chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
Nebraska and the United States Bankruptcy Court for the District of Kansas. The bankruptcy
cases for affiliate Abengoa Bioenergy of Nebraska, LLC and Abengoa Bioenergy Company,
LLC were converted to cases under chapter 11 of the Bankruptcy Code and transferred to the
United States Bankruptcy Court for the Eastern District of Missouri as set forth below.

    45. Abengoa Bioenergy of Nebraska, LLC                     Bankr. E.D. MO, Case No. 16-41336
    46. Abengoa Bioenergy Company, LLC                         Bankr. E.D. MO, Case No. 16-41364
    47. Abengoa Bioenergy Biomass of Kansas, LLC               Bankr. D. KS, Case No. 16-10446




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                                        MARCH 29, 2016

                         WRITTEN CONSENT OF THE MEMBER

Effective as of the date hereof, the Member of Nicsa Industrial Supplies, LLC (the “Company”)
consent to the following actions and adopt the following resolutions pursuant to the Limited
Liability Company Agreement of Nicsa Industrial Supplies, LLC (as amended from time to time,
the “Operating Agreement”) and the Delaware Limited Liability Company Act.

   A. Chapter 11 Filing
       WHEREAS, the Member considered presentations by the management and the financial
and legal advisors of the Company regarding the liabilities and liquidity situation of the
Company, the strategic alternatives available to it, and the effect of the foregoing on the
Company’s business; and

        WHEREAS, the Member has had the opportunity to consult with the management and
the Company’s financial and legal advisors and to fully consider strategic alternatives available
to the Company.

NOW, THEREFORE, THE MEMBER CONSENTS TO THE COMPANY’S ADOPTION
OF THE FOLLOWING ACTIONS AND RESOLUTIONS:

        RESOLVED, that in the judgment of the Member, it is desirable and in the best interests
of the Company, its creditors, and other parties in interest, that the Company shall be and hereby
is authorized to file or cause to be filed a voluntary petition for relief (such voluntary petition,
under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
in a court of proper jurisdiction; and it is further

        RESOLVED, that any officer of the Company (collectively, the “Authorized Officers”),
acting alone or with one or more other Authorized Officers be, and they hereby are, authorized,
empowered and directed to execute and file on behalf of the Company all petitions, schedules,
lists and other motions, papers, or documents, and to take any and all action that they deem
necessary or proper to obtain such relief, including, without limitation, any action necessary to
maintain the ordinary course operation of the Company’s business; and it is further

        RESOLVED, that each of the Authorized Officers be, and hereby are, authorized,
directed and empowered in the name of, and on behalf of, the Company, to execute and deliver
any documents or to do such other things which shall in their sole judgment be necessary,
desirable, proper, or advisable to give effect to the foregoing resolutions, which determination
shall be conclusively evidenced by their execution thereof.

   B. Retention of Professionals

       IT IS FURTHER RESOLVED, that each of the Authorized Officers be, and they
hereby are, authorized and directed to employ the law firm of DLA PIPER LLP (US) as general
bankruptcy counsel to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
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obligations, including filing any pleadings; and in connection therewith, each of the Authorized
Officers, with power of delegation, are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of DLA PIPER LLP (US); and it is further

        RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized
and directed to employ any other professionals to assist the Company in carrying out its duties
under the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with
power of delegation, are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of any other professionals as necessary; and it is further

        RESOLVED, that each of the Authorized Officers be, and they hereby are, with power
of delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Officers
deem necessary, proper, or desirable in connection with the Company’s chapter 11 case, with a
view to the successful prosecution of such case.

   C. General
        IT IS FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of
the Company, to take or cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver and file any and all such agreements, certificates, instruments and
other documents and to pay all expenses, including but not limited to filing fees, in each case as
in such officer’s or officers’ judgment, shall be necessary, advisable or desirable in order to fully
carry out the intent and accomplish the purposes of the resolutions approved in this Written
Consent; and it is further

        RESOLVED, that the Member has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the Operating Agreement or applicable law, or hereby waive any right to receive such notice
thereunder; and it is further

       RESOLVED, that all acts, actions and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Company, which acts
would have been approved by the foregoing resolutions except that such acts were taken before
the adoption of these resolutions, are hereby in all respects approved and ratified as the true acts
and deeds of the Company with the same force and effect as if each such act, transaction,
agreement or certificate has been specifically authorized in advance by resolution of the
Member; and it is further

       RESOLVED, that each of the Authorized Officers (and their designees and delegates) be
and hereby are authorized and empowered to take all actions or to not take any action in the
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name of the Company with respect to the transactions contemplated by this Written Consent as
such Authorized Officer shall deem necessary or desirable in such Authorized Officers’
reasonable business judgment as may be necessary or appropriate to effectuate the purposes of
the transactions contemplated herein.




       Abeinsa LLC, Sole Member
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